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                             EXHIBIT 8




                             EXHIBIT 8
  Case 3:24-cv-00526-ART-CSD                    Document 64-8   Filed 03/19/25   Page 2 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           You grinning fucking d own
Dat e :            Monday, September 2, 2024 4:17:23 AM




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                                                                                        WC0974
  Case 3:24-cv-00526-ART-CSD                    Document 64-8   Filed 03/19/25   Page 3 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           You11pay cunt
Dat e :            Monday, September 2, 2024 3:21:57 AM




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                                                                                        WC0975
  Case 3:24-cv-00526-ART-CSD                     Document 64-8   Filed 03/19/25   Page 4 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           You're gonna pay bit ch
Dat e :            Monday, September 2, 2024 4: 16:50 AM




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You don't get to allow somebody to have their rights you dumb fucking whore




                                                                                         WC0976
  Case 3:24-cv-00526-ART-CSD                       Document 64-8          Filed 03/19/25   Page 5 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           Somebody should slap you in the fucking face you pig
Dat e :            Monday, September 2, 2024 4:07:39 AM




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                                                                                                  WC0977
  Case 3:24-cv-00526-ART-CSD                     Document 64-8   Filed 03/19/25   Page 6 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           Stupid fuck
Dat e :            Monday, September 2, 2024 3: 16:44 AM




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                                                                                         WC0978
  Case 3:24-cv-00526-ART-CSD                    Document 64-8   Filed 03/19/25   Page 7 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           Violent lying whore
Dat e :            Monday, September 2, 2024 3:21:28 AM




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                                                                                        WC0979
  Case 3:24-cv-00526-ART-CSD                    Document 64-8   Filed 03/19/25   Page 8 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           Fuck you cunt
Dat e :            Monday, September 2, 2024 3:15:39 AM




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Arrogant fucking Cunt




                                                                                        WC0980
 Case 3:24-cv-00526-ART-CSD                    Document 64-8   Filed 03/19/25   Page 9 of 15


From:             Russ Travis
To:               McKenzie, Stacy L.
Subject:          Canadian fan
Date:             Monday, September 2, 2024 3:09:19 AM




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                                                                         Report suspicious



Hi from Canada
Watched you be a fat lying whore of a americlown on YouTube
Hey, you thought ugly fuck Internet is forever and you got caught you and your
country with your fucking thumb up your Cunt you stupid fucking Cunt




                                                                                       WC0981
Case 3:24-cv-00526-ART-CSD                      Document 64-8   Filed 03/19/25   Page 10 of 15


Fro m:             Russ Travis
To :               McKenzie, Stacy L.
Subject:           Bye bye whore
Dat e :            Monday, September 2, 2024 3: 16:25 AM




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                                                                                         WC0982
Case 3:24-cv-00526-ART-CSD                      Document 64-8   Filed 03/19/25   Page 11 of 15


From:              Russ Travis
To:                McKenzie, Stacy L.
Subject:           Stupid fuck
Dat e :            Monday, September 2, 2024 3: 16:44 AM




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                                                                                         WC0983
Case 3:24-cv-00526-ART-CSD                       Document 64-8         Filed 03/19/25         Page 12 of 15


From:               McKenzie, Stacy L.
To:                 Liddell, Lindsay L
Subject:            FW: Library
Date:               Tuesday, March 18, 2025 1:40:44 PM
Attachments:        image001.png




                                Stacy McKenzie
                                Assistant Library Director I Washoe County Library System
                                smckenzie@washoecounty.gov 1775.327.8345
  WASHO(       COUl',TY
                                301 S. Center Street, Reno, NV 89501
  LIBRARY SYSIDVl
                               0©0€})

From: McKenzie, Stacy L.
Sent: M o nday, August 26, 2024 2:21 PM
To: Scott, Jeff <jscott@washoecounty.gov>; West, Benjamin <BWest@washoeco unty.gov>
Subject: FW: Library


Coming my way now.

                                  Stacy McKenzie
                                  Assistant Library Director I Washoe County Library System
                                  smckenzie@washoecounty.gov 1775.327.8345
  WASHO(       cour.TY
                                  301 S. Center Street, Reno, NV 89501
  LIBRARY SYSTEM
                                  ©©O®

From: Jason Kendall <jmkinmo@gma il.com>
Sent: Monday, August 26, 2024 2:03 PM
To: McKenzie, Stacy L. <SMcKenzie@washoecounty.gov>
Subject: Li brary




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You are a fuc king CUNT.
The library belongs t o t he people, not you. You NAZI CUNT.
Please go home and unalive yourself please, you are a waste of space in th is Free
America.




                                                                                                     WC0984
Case 3:24-cv-00526-ART-CSD                      Document 64-8      Filed 03/19/25         Page 13 of 15


From:             McKenzie, Stacy L.
To:               Liddell, Lindsay L
Subject:          FW: WOW!!! YOU HAVEN"T CHNAGED AT ALL!!!
Dat e:            Tuesday, March 18, 2025 3 :28:54 PM
Attachments:      image001.png




                              Stacy McKenzie
                              Assistant Library Director I Washoe County Library System
                              smckenzie@washoecounty.gov 1775.327.8345
  WASHO(       COUl',TY
                              301 S. Center Street, Reno, NV 89501
  LIBRARY SYSIDVl
                             0©0€})

From: McKenzie, Stacy L.
Sent: Tuesday, September 3, 2024 5:12 PM
To: West, Benjamin <BWest@washoecounty.gov>
Subject: FW: WOW!!! YOU HAVEN'T CH NAG ED AT ALL!!!




                              Stacy McKenzie
                              Assistant Library Director I Washoe County Library System
                              smc kenzie@washoecounty.gov 1775.327.8345
  WASHO(       cour.TY
                              301 S. Center Street, Reno, NV 89501
  LIBRARY SYSTEM
                              ©©O®

From: Denise H <rainontoo@gmail.com>
Sent: Monday, September 2, 2024 11:30 AM
To: McKenzie, Stacy L. <SMcKenzie@washoecounty.gov>
Subject: WOW!!! YOU HAVEN'T CHNAG ED AT ALL!!!




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YOU'RE JUST ANOTHER LYING OVERPAID LOSER!!! GROW UP YOU POS!!!




                                                                                                 WC0985
Case 3:24-cv-00526-ART-CSD                        Document 64-8                 Filed 03/19/25           Page 14 of 15


From:             McKenzie, Stacy L.
To:               Liddell , Lindsay L
Subject:          FW: You are a uneducated lying disgusting piece of shit hopefully you get fired soon

Date:             Tuesday, March 18, 2025 3 :28: 17 PM
Attachments:      image001.png




                             Stacy McKenzie
                             Assistant Library Director I Washoe County Library System
                             smckenzie@washoecounty.gov 1775.327.8345
  WASHO(       COUl',TY
                             301 S. Center Street, Reno, NV 89501
  LIBRARY SYSIDVl
                             0©0€})

From: McKenzie, Stacy L. <SMcKenzie@washoecounty.goV>
Sent: Thursday, September 12, 2024 8:47 AM
To: West, Benjam in <BWest@washoecounty.gov>
Subject: Fwd : You are a uneducated lying d isgusting piece of shit hopefully you get fired soon


First one in a bit. Very creative.


Get Outlook for iOS

From: Markus Eggersmann <mar,eggersmann@gmaU.com>
Sent: Thursday, September 12, 2024 7:28:02 AM
To: McKenzie, Stacy L. <SMcKenzie@washoecounty.gov>
Subject: You are a uneducated lying disgusting piece of shit hopefully you get fired soon



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You are a uneducated lying disgusting piece of shit hopefully you get fired soon
You don't deserve to serve the community
You should be ashamed of yourself and quit your because you are uneducated and
dumb as a rock



                                                                                                                WC0986
Case 3:24-cv-00526-ART-CSD                         Document 64-8                 Filed 03/19/25                Page 15 of 15


From:             Russ Travis
To:               McKenzie, Stacy L.
Subject:          We could fill five or 10 universes with t he shit you don't know you fucking ignorant Cunt
Date:             Monday, September 2, 2024 4:03:58 AM




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                                                                                                    Report suspicious




                                                                                                                      WC0987
